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Alfa Mutual Insurance Company

American Economy Insurance Company, American States Insurance Company,
American States Insurance Company of Texas, American Fire and Casualty
Company, Montgomery Insurance Company, General Insurance Company of
America, and First National Insurance Company of America

American Empire Surplus Lines Insurance Company

American Home Assurance Company

American Strategic Insurance Corporation, ACA Home, Home Pointe,
American Capital Assurance, Ark Royal Insurance Company, ASI Assurance
Corp., ASI Corp., AS! Lloyds, ASI Preferred and ASI Select

Amerisure Insurance Company and Amerisure Mutual Insurance Company
Arch insurance Company

Argo Underwriting Agency, Ltd., the sole underwriting member or “Name” for
Syndicate 1200, improperly identified in the Amended Amato Complaint as
“Underwriters at Lloyd’s, London"

Atlantic Casualty Insurance Company

Audubon Indemnity Company

Bankers Insurance Group and Bankers Insurance Company

Builders Mutual Insurance Company

Canal Indemnity

Catlin Specialty Insurance Company and Wellington Specialty Insurance
Company .

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Certain Underwriters at Lloyd’s, London (each severally subscribed to the
insurance policy each for its own part and not one for the other, numbered
ARTOO1135).

Chartis Specialty Insurance Company, f/k/a American International Specialty
Lines Insurance Company

Cincinnati Insurance Company

Clarendon America Insurance Company, Praetorian Specialty Insurance
Company, OBE Specialty Insurance Company, QBE Insurance Corporation,
Southern Guaranty Insurance Company and Praetorian Insurance Co., f/k/a
the Insurance Company of Hanover

Colony Insurance Company

Companion Property & Casualty Group

Continental Casualty Company

Continental Insurance Company

Continental Western Insurance Company

Employers Mutual Casualty Company

Endurance American Specialty Insurance Company

Faraday Syndicate 435 and Heritage Syndicate 1200

As Certain Underwriters subscribing to certain policies issued to

Southern Homes, LLC, Tallow Creek, LLC, Springhill, LLC and Adrian Kornman
Faraday Syndicate 435 and Heritage Syndicate 1200

As Certain Underwriters subscribing to certain policies issued to

Southern Homes, LLC, Tallow Creek, LLC, Springhill, LLC and Adrian Kornman

FCCI Insurance Company, FCCl Commercial Insurance Company, National
Trust Insurance Company, Brierfield Insurance Company and FCCI Advantage
Insurance Company

Federal Insurance Company

Federated Mutual Insurance Company and Federated Service Insurance
Company

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Federated National Insurance Company f/k/a American Vehicle Insurance
Company

Fireman's Fund Insurance Company and Interstate Fire and Casualty Company

Florida Insurance Guaranty Association

Gemini Insurance Company

General Fidelity Insurance Company

Granada Insurance Company

Granite State Insurance Company

Great American Insurance Company

Harleysville Mutual Insurance Company

Hartford Fire Insurance Company, Hartford Casualty Insurance Company,
Hartford Insurance Company of the Southwest, Hartford Underwriters
Insurance Company, Twin City Fire Insurance Company

Illinois National Insurance Company

linois Union Insurance Company

indian Harbor Insurance Company

James River Insurance Company

Kingsway Amigo Insurance Company

Landmark American Insurance Company and RSUI Indemnity Company

Lexington Insurance Company

Liberty Mutual Insurance Company and Liberty Mutual Fire Insurance
Company

Liberty Surplus Insurance Corporation and LSI Corporation, Liberty Insurance
Underwriters, Inc.

Louisiana HomeBuilders Association General Liability Trust

Mapfre Insurance Company

Maxum Indemnity Company

Mid-Continent Casualty Company and Mid-Continent Insurance Company

Montpelier US Insurance Company
National Surety Corporation

National Union Fire Insurance Company of Pittsburgh, Pa.

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Nationwide Mutual Insurance Company and Nationwide Mutual Fire
Insurance Company

Nautilus Insurance Company

New Hampshire Insurance Company

North American Specialty Insurance Company

North Pointe Casualty Insurance Company, North Pointe Insurance Company
and Queensway International Indemnity Company

Northbridge Indemnity Insurance Corporation, f/k/a Commonwealth
Insurance Company

Old Dominion Insurance Company

Omega Dedicated Ltd (UK), the sole underwriting member or “Name” for
Syndicate 958 (improperly identified in the Amended Amato Complaint as
“Underwriters at Lloyd’s, London”)

Owners Insurance Company, Southern Owners Insurance Company and Auto-
Owners Insurance Company

Penn-America Insurance Company

Pennsylvania Lumbermens Mutual Insurance Company

Quanta Indemnity Company and Quanta Specialty Lines Insurance Company

Republic Underwriters Insurance Company and Southern Insurance Company

Rockhill Insurance Company

Scottsdale Insurance Company

Sentry Insurance, A Mutual Company

State Farm Fire and Casualty Company and State Farm Florida Insurance
Company

The American Insurance Company

The Insurance Company of the State of Pennsylvania

The Ohio Casualty Insurance Company and West American Insurance
Company

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The Underwriting Member of Lloyd's Syndicate 3500 in its capacity as
Reinsurer to Close of Lloyd's Syndicate 2112 c/o RiverStone Managing Agency
Limited of Park Gate, 161-163 Preston Road, Brighton BN1 6AU (“the
RiverStone Syndicate”).

Travelers Property Casualty Company of America f/k/a The Travelers
Indemnity Company of Illinois, The Travelers Indemnity Company of America,
St. Paul Surplus Lines Insurance Company, and The Charter Oak Fire Insurance
Company

Unigard Insurance Company

USF Insurance Company

Valley Forge Insurance Company

Wausau Underwriters Insurance Company, Wausau Business Insurance
Company, Employers Insurance Company of Wausau, and Employers
Insurance of Wausau

Wesco Insurance Company

Western Pacific Mutual Insurance Company

_|Western World Insurance Company

Westfield Insurance Company

Zurich American Insurance Company, American Zurich Insurance Company,
Maryland Casualty Company, Steadfast Insurance Company, Assurance
Company of America, American Guarantee and Liability insurance Company

